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                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                     )              CASE NO. 8:06CR243
                                              )
              Plaintiff,                      )
                                              )
              vs.                             )                    ORDER
                                              )
JAMARR HOLIDAY,                               )
                                              )
              Defendant.                      )

        This matter is before the Court on the Defendant's motion for release (Filing No.

254).

        The motion follows the Defendant's June 2, 2011, sentencing for an admitted

supervised release violation.

        IT IS ORDERED:

        1.    The Defendant's motion for release (Filing No. 254) is denied; and

        2.    The Clerk is directed to mail a copy of this order to the Defendant at his last

              known address.

        DATED this 20th day of October, 2011.

                                                  BY THE COURT:


                                                  s/Laurie Smith Camp
                                                  United States District Judge
